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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-cv-00191-MSK-MJW

  MICHELLE BIGLEN,

         Plaintiff,

  v.

  NCO FINANCIAL SYSTEMS INC.,

        Defendant.
  ______________________________________________________________________________

                      DEFENDANT NCO FINANCIAL SYSTEMS, INC.’S
                        CORPORATE DISCLOSURE STATEMENT

  TO THE HONORABLE COURT:

         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant NCO Financial

  Systems, Inc. hereby discloses as follows:

         NCO Financial Systems, Inc. is a Pennsylvania corporation, with its principal place of

  business in Pennsylvania. NCO Financial Systems, Inc. and NCO Holdings, Inc., a Delaware

  corporation, are wholly owned by JDR Holdings, Inc., also a Delaware corporation.       JDR

  Holdings, Inc. is wholly owned by Compass International Services Corporation, a Delaware

  corporation. All of the above-mentioned corporations are wholly owned by NCO Group, Inc.

  NCO Group, Inc. is a privately held corporation incorporated in Delaware. Various corporate

  affiliates of Citigroup Inc. own approximately 7% of NCO Group, Inc. stock. One Equity

  Partners and its corporate affiliates, which are affiliates of JP Morgan Chase & Co., own

  approximately 88% of NCO Group, Inc. stock.
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  Dated: March 10, 2011.                      s/ Louis Leonard Galvis
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                                              Attorneys for Defendant,
                                              NCO Financial Systems, Inc.

                                 CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on March 10, 2011 I electronically filed a true and exact

  copy of the above and foregoing Rule 7.1 corporate disclosure with the Clerk of Court using the

  CM/ECF system which will send notification of such filing to the following email addresses:

  CEhrlich@AttorneysForConsumers.com
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  disrael@sessions-law.biz
                                              s/ Louis Leonard Galvis
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